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UNITED S'I`ATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

LINDA BURGESS
CaseNg_ C 07-05310 JSW

Plaintiif(s),
ADR CERTIFICATION BY PARTIES
AND COUNSEL
V.
'I'OWNSEND AND 'IOWNSEND A`ND
CREW LONG TERM DISABILITY
Defendant(s).

Pursuant to Civil L.R. 16~S(b) and ADR L.R. 3-5 (b), each of the undersigned certifies
that he or she has:

(1) Read the handbook entitled “Dispute Reso.lur¢'on Procedures fn the Northem Dz'strt'ct
ofCaliform'a” on the Court’s ADR lnternet site www.adr,cand.uscgg;§§.gov (Lt'mited printed
copies are available fi‘om the clerk ’s office for parties in cases not subject to the court 's
Electronfc Case Filfng program (ECF) under General Order 45),'

(2) Discussed the available dispute resolution options provided by the Court and private
entities; and

(3) Considered whether this case might benefit from any of the available dispute
resolution options.

Dated: ‘l N[O& _ w

`TP&Feq/P§.U_DENTIAL INSURANCE
coMPANY oF meach

Dated: 1/1£‘/03

 

lCOunS€l] TAD 'A. DEVLIN

 

When filing this document in ECF, please be sure to use the ADR Docket Event entitled
"ADR Certit`tcation (ADR L.R. 3-5b) of Discussion of ADR Options."

 

 

 

Rev. 1205

